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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:07-CR-123(10)
                                                 §
 MARLANA MACK                                    §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On April 30, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Marlana Mack, on Count One of the charging

 Information filed in this cause. Count One of the Information charges that from on or about

 January 2005 to on or about August 2006, in the Southern District of Texas, Marlana Mack,

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 Defendant herein, conspired to commit money laundering in violation of Title 18, United States

 Code, Section 1956(h). The charged offense is set forth more specifically in the Information and

 in the Elements of the Offense, also on file.

        Defendant, Marlana Mack, entered a plea of guilty to Count One of the Information1 into

 the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an



        1
        The Defendant executed a waiver of Indictment which was addressed on the
 record at the hearing.


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 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that her conduct falls within the definition of the crime charged under 18

 U.S.C. § 1956(h).

                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Basis and

 Stipulation. If the case proceeded to trial, the Government and Defendant agreed and stipulated

 to the information set forth in the factual basis which would be used by the Government in

 support of the Defendant’s plea of guilty. The Government and Defendant agreed that the

 Government would have proven that Defendant is one and the same with the person charged in

 the Information and that the events described in the Information occurred on the dates and in the

 places alleged in the Southern District of Texas. The Government and Defendant agreed that the

 Government would have proven, through the testimony of witnesses and through admissible

 exhibits, beyond a reasonable doubt, each and every essential element of the offense alleged;

 specifically, the Government would have proven certain stipulated facts set forth in the Factual

 Basis, on file in the record of this cause. The Factual Basis states those facts as follows:

        That between on or about June 2005 to on or about August 2006 the defendant combined,

 conspired and agreed with Thomas Bernard Miller and others unknown to the Grand Jury to

 conceal or disguise the nature, location, the source, the ownership or the control of bulk United

 States Currency proceeds of some specified unlawful activity. On July 7, 2005 in the course of

 said conspiracy, the defendant and co-conspirator Dahlia Davidson received a bulk money


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 shipment of United States currency in the amount of $199,210.00. Said funds represented the

 criminal proceeds of the cocaine HCL distribution scheme supervised by Thomas Bernard

 Miller.

           The Government would show that Defendant had previously made earlier bulk money

 shipments on behalf of Thomas Bernard Miller bringing the total amount of funds thereby

 transported to a stipulated amount of $200,001.00. After secreting said bulk money shipment in

 their luggage, the defendant and co-conspirator Davidson traveled by airplane from Philadelphia,

 PA to Houston Texas, in the Southern District of Texas for the purpose of delivering said funds

 to Thomas Bernard Miller. The defendant was to have received a fee for the service provided by

 the bulk money transportation. When the defendant and co-conspirator Davidson arrived in

 Houston, they were interdicted by law enforcement and the funds were seized. At the time of

 defendant's receipt or attempted receipt of said bulk money shipments, defendant knew that said

 funds were the proceeds of some specified unlawful activity.

           Upon questioning at the guilty plea hearing, the defendant also confirmed that there was

 an underlying financial transaction made by Thomas Bernard Miller with the funds she was

 transporting. She further admitted that she was bringing proceeds from drug sales to Mr. Miller

 and that she knew that Mr. Miller would use those proceeds for financial transactions such as

 buying cars and depositing the money in banks.

           Defendant, Marlana Mack, agreed with the facts set forth by the Government and signed

 the Factual Basis.      Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the


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 evidence presented by the Government and personally testified that she was entering her guilty

 plea knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Information on file in this

 criminal proceeding. The Court also recommends that the District Court conditionally accept the

 plea agreement.2 Accordingly, it is further recommended that, Defendant, Marlana Mack, be

 finally adjudged as guilty of the charged offense under 18 U.S.C. § 1956(h).

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject her plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the



          2
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw her guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by


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 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).


                       SIGNED this the 7th day of May, 2008.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE




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